            Case 2:20-cv-00205-RMP                   ECF No. 46          filed 01/12/21     PageID.960 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT                                                   FILED IN THE
                                                                                                                    U.S. DISTRICT COURT
                                                                  for the_                                    EASTERN DISTRICT OF WASHINGTON

                                                     Eastern District of Washington
        UNIVERSAL FUNDING CORPORATION,
                                                                                                               Jan 12, 2021
              a Washington corporation,                                                                            SEAN F. MCAVOY, CLERK

                                                                     )
                             Plaintiff                               )
                                v.                                   )        Civil Action No. 2:20-CV-205-RMP
                                                                     )
 STOCKWELL HARRIS WOOLVERTON HELPHREY,
 a California corporation; GEORGE WOOLVERTON, an                     )
    individual; and STEVEN I. HARRIS, an individual,
                            Defendant

                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: The Stipulated Motion to Dismiss with Prejudice is GRANTED.
’
              Plaintiff’s Complaint is dismissed with prejudice and without fees or costs as to Defendants Stockwell Harris Woolverton
              Helphrey and George Woolverton, only.



This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge              Rosanna Malouf Peterson




Date: January 12, 2021                                                      CLERK OF COURT

                                                                             SEAN F. McAVOY

                                                                             s/ Courtney Piazza
                                                                                          (By) Deputy Clerk
